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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Gregory R. Brown, a Special Agent (SA) with the Federal Bureau of Investigation (FBI),

being duly sworn, depose and state as follows:



                                        INTRODUCTION

       1.      I am a Special Agent of the FBI. I have been a Special Agent with the FBI since

April 2003. I am charged with the duty of investigating violations of the laws of the United States,

collecting evidence in cases in which the United States is or may be a party in interest, and

performing other duties imposed by law. During my assignment with the FBI, I have participated

in cases involving violent crimes and threats of violent crimes, as defined in Title 18, United States

Code, Section 115(B).

       2.      This affidavit is offered in support of a criminal complaint charging ISAAC AMBE

INFORMANGUM with violating 18 USC § 115(a)(1)(B) (threats to murder a United States

official), and 18 USC § 875(c) (threats by wire). The statements in this affidavit are based upon

my investigation, information provided to me by other law enforcement officers and my

experience and training as a Special Agent of the FBI. Because this affidavit is being submitted

for the limited purpose of securing a criminal complaint, I have not included all facts known to me

concerning this investigation.

                                       PROBABLE CAUSE
       3.      Law enforcement officers were notified by United States Capital Police (USCP)

that they received a report from the Office of United States Senator Rafael Edward “Ted” Cruz.

Senator Cruz received a voice message on June 26, 2022 at 12:30 PM CT from 832-834-2312

(“target number”) to Senator Cruz’s Houston office located at 1919 Smith Street # 9047 Houston,


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Harris County, Texas 77002. The Caller ID displayed “Cath Nformangum.” The recording was

transcribed as follows:

        Voice Message Transcription:

[Sigh] Okay [spoken quietly]. Hello and good afternoon Senator Rafael. This is one of the many

Afro-American constituents of whom you are representative of here in Texas, as you currently

serve from the Senate. [Sigh] I have just read the, uh, Texas Republican parties’ platform for this

current 2022 year, uh, wherein it is apparent that your many colleagues intend, intend to have the

Voting Rights Act repealed and not reauthorized. Every last one of your Republican colleagues

to have signed off on that platform is to be found and, is to be found and killed, be it by a bullet

to the face or by the smashing of a brick in your skull. It is a civic duty of every American citizen

or resident to see to it that every last one of your colleagues is to be killed. Killed. Be it by finding

you in a public space or by trailing you to your very, by your very public homes. The addresses of

which are public knowledge. You and every one of your colleagues is to be shot dead. Found and

killed. You sick pieces of human scum will not have the fucking audacity to aggress this any further

and to strip us of our rights like you did our grandparents so many years ago. You will be found

and killed. As a civic duty of every American to do so. Fuck you. Fuck you Rafael. You peace of

human scum. [Silence for 30 seconds.]

        4.      Affiant learned the following information that was provided by USCP:

A search of law enforcement databases for the target number revealed the carrier to be T-Mobile

and the subscriber to be Cath Nformangum. Additional law enforcement databases indicated that

Cath Nformangum was associated with Isaac Ambe Nformangum, date of birth xx-xx-2000, Texas

ID 44004686, and Social Security Number xxx-xx-9694. A search of a separate law enforcement



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database for the target number revealed the most recent association with the number was Isaac

Ambe Nformangum with an address of 17607 Barton Point Ln., Richmond, TX 77407 (Affiant

confirmed the owner of the above residence to be Catherine Nformangum through Fort Bend

County Central Appraisal District).

       5.     Law enforcement officers further learned the following from Open Source: A

search was conducted of the name Isaac Ambe Nformangum on the search section of Facebook

which provided the following:



              a. https://www.facebook.com/isaac.nformangum - Name, school, and location
                 all associate to Nformangum.




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      b. https://www.youtube.com/channel/UCzIK4q3d-FmzhinaaNHil8Q/about




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                c. https://www.instagram.com/supgeek19/?fbclid=IwAR02NfSD2smpsAsT24j-

                ztARAL8mbruz3qmrMC-XdeaYJnMojmL_CP_DSM8 – Linked to Facebook

                account. Set to private. Matching profile picture.

        6.      Affiant learned of an Instagram account owned by Isaac Ambe Nformangum to

show a YouTube video posted by Isaac Ambe Nformangum that was a recording of his voice. Law

enforcement officers played the YouTube video audio alongside the above recorded phone call

made on June 26, 2022. Affiant and law enforcement officers believe the voice on the recording

left on Senator Cruz’ voicemail is the same voice heard while watching the YouTube video on the

Instagram account associated with Isaac Ambe Nformangum.

        7.      Law enforcement officers made contact with T-Mobile to determine the

approximate location where the call was made. An exigent request form was submitted to T-

Mobile as part of conspiratorial activities threatening national security interest for cell data records

(CDR) with cell sites (last 48 hours). Law enforcement officers received CDR records showing

the above call was made from the area of the cell tower located at 7023 Brittmoore Road Houston,

Harris County, Texas 77041.

        8.      On June 28, 2022, Nformangum was arrested at his home for making a Terroristic

Threat to Senator Cruz.

        9.      On June 30, 2022, your Affiant met with Nformangum while he was in custody.

Nformangum waived his rights and agreed to speak with your Affiant. In summary, Nformangum

stated that he made the call to Senator Cruz on June 26, 2022 while at work. He explained that he

was upset after reading the 2022 Texas Republican Platform where in Senator Cruz and others

proposed overturning the Federal 1965 Voting Rights Act. In his state of anger, Nformangum


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researched Senator Cruz’s office telephone number, went to a private area at work, and placed the

“very detailed threat to the Senator.” During the call and after the call, Nformangum expected

some action to be taken by the government, such as being placed on a Watch List. He did not

expect any immediate action such as being arrested. He was surprised he was arrested so quickly.

He consented to a search of his phone which is a black Samsung Galaxy A10S, manufactured in

China. A search of his phone shows that on June 26, 2022, at approximately 12:21pm, he called

Senator Cruz’s office in Washington, D.C. twice. One of the calls lasted over 1 minute. Directly

afterwards, he called Senator Cruz’s office in Houston, Texas, where he made the above-

mentioned threats. This call lasted over 7 minutes.




                                         CONCLUSION

       10.     Based on the facts listed above, there is probable cause to conclude that Isaac

Ambe Nformangum on or about June 26, 2022, in Harris County, located in the Southern District

of Texas, did commit the criminal offenses of:

       11.     Title 18 USC, Section 115(a)(1)(B) (Threatens to assault, kidnap, or murder, a

United States Senator, with intent to impede, intimidate, or interfere with such Senator while

engaged in the performance of official duties, or with intent to retaliate against such Senator on

account of the performance of official duties.) and,




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